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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JASON LACEY,                                      )
                                                   )
                         PLAINTIFF,                )
         v.                                        )
                                                   )      Case No.
 MEDIA COLLECTIONS, INC.                           )
                                                   )
                                                   )
                                                   )
                         DEFENDANT.                )      JURY TRIAL DEMANDED

                                           COMPLAINT

        Plaintiff, Jason Lacey, brings this action under the Fair Debt Collection Practices Act, 15

U.S.C. § 1692, et seq. (“FDCPA”), for a finding that Defendant’s debt collection actions violated

the FDCPA, and to recover damages for Defendant’s violations of the FDCPA, and alleges:

                                  JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28 U.S.C.

§§ 1331 and 1337.

        2.      Venue is proper in this District because parts of the acts and transactions occurred

here, and Defendants transact substantial business here.

                                            STANDING

        3.      Plaintiff has suffered an injury in fact that is traceable to Defendant’s conduct and

is likely to be redressed by a favorable decision in this matter.

        4.      Specifically, Plaintiff suffered a personalized and concrete injury in the form of,

among other things, emotional distress caused by Defendant’s contact with him in regard to a

debt when Defendant knew he was represented by counsel in respect to that debt, and by falsely

stating the legal status of the debt.

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        5.      Plaintiff has thus suffered an injury as a result of Defendant’s conduct, giving rise

to standing before this Court. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1544 (2016), quoting

Lujan v. Defenders of Wildlife, 504 U.S. 555, 580 (1992) (Congress has the power to define

injuries and articulate chains of causation that will give rise to a case or controversy where none

existed before.); Bellwood v. Dwivedi, 895 F. 2d 1521, 1526-27 (7th Cir. 1990) (“Congress can

create new substantive rights, such as a right to be free from misrepresentations, and if that right

is invaded the holder of the right can sue without running afoul of Article III, even if he incurs no

other injury[.]”).

                                             PARTIES

        6.      Plaintiff, Jason Lacey (“Mr. Lacey” or “Plaintiff”), is a resident of the State of

Illinois, from whom Defendant attempted to collect a delinquent consumer debt allegedly owed

to RCN Corporation (“RCN”). Plaintiff is thus a consumer as that term is defined by 15 U.S.C. §

1692a(3) of the FDCPA.

        7.      Defendant Media Collections, Inc. d/b/a Joseph, Mann & Creed (“Media

Collections”), is an Ohio based corporation, with its principal place of business at 8948 Canyon

Falls Blvd., Suite 200, Twinsburg, Ohio 44087. Media Collections does or transacts business in

Illinois. Its registered agent is CT Corporation System, which can be found at 208 South LaSalle

St., Suite 814, Chicago, IL 60604. (Exhibit A, Record from Illinois Secretary of State).

        8.      Media Collections regularly collects, or attempts to collect, consumer debt owed

to another.

        9.      Media Collections acts as a debt collector as defined by § 1§ 1692a(6) of the

FDCPA because it uses the instrumentalities of interstate commerce including the telephone




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and/or the mails in its business, the principal purpose of which is the collection of defaulted

consumer debts.

        10.     Media Collections also acts as a debt collector as defined by § 1692a(6) of the

FDCPA as it regularly attempts to collect, directly or indirectly, debts owed or due or asserted to

be owed or due another.

        11.     Media Collections is licensed as a collection agency in the State of Illinois.

(Exhibit B, License from Illinois Department of Financial and Professional Regulation).

                                   FACTUAL ALLEGATIONS

        12.     According to Defendant, Plaintiff incurred a debt for goods and/or services used

for personal, family or household purposes (“alleged debt”), originally owed to RCN for

personal phone, internet and/or cable services. The alleged debt is thus a “debt” as that term is

defined by § 1692a(5) of the FDCPA.

        13.     Due to financial hardship, Plaintiff was unable to pay the alleged debt, and it went

into default.

        14.     Due to Plaintiff’s deteriorating financial situation, he sought the assistance of

bankruptcy counsel, and retained the Corbin Law Firm, LLC to represent his interests in filing

bankruptcy.

        15.     On June 29, 2017, Plaintiff filed for Chapter 13 Bankruptcy, case number

17-19715, in the United States Bankruptcy Court for the Northern District of Illinois.

        16.     Plaintiff was told by his counsel that counsel would act as an intermediary

between him and debt collectors, and that Plaintiff would not be contacted directly by debt

collectors.




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          17.   On July 27, 2017, Plaintiff’s bankruptcy counsel sent a Supplemental Notice of

Chapter 13 Bankruptcy to, among other creditors, RCN. (Exhibit C, Supplemental Notice of

Chapter 13 Bankruptcy).

          18.   On information and belief, RCN received the bankruptcy notice shortly thereafter.

          19.   This notice of bankruptcy included Plaintiff’s counsel’s name, phone number, address

and email address. It also included notice that Plaintiff had filed bankruptcy and provided the case

name and number for the bankruptcy.

          20.   The bankruptcy was also filed publicly, and available to his creditors, as it was public

record.

          21.   Shortly after July 27, 2017, RCN knew that Plaintiff was represented by counsel

and had filed for bankruptcy.

          22.   At some point after July 27, 2017, RCN assigned the alleged debt to a debt

collector, who during the attempted collection of the debt, was provided actual notice that

Plaintiff was represented by counsel.

          23.   On information and belief, that debt collector provided this information to RCN,

including the information on Plaintiff’s bankruptcy filing and counsel.

          24.   RCN would have provided that information to Media Collections, when placing

the account with it, or Media Collections could have easily ascertained this information through

reasonable procedures.

          25.   At some point after this, RCN assigned or otherwise retained Media Collections

to assist it in attempting to collect the alleged debt from Plaintiff.




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        26.     On receiving the file, Media Collections received notice that Plaintiff had filed

bankruptcy and was represented by counsel, or could have easily ascertained that information

through normal processes and procedures, if it chose to do so.

        27.     Despite the fact that Defendant knew, or could have easily ascertained, that

Plaintiff was represented by counsel, and had filed for bankruptcy, Media Collections Contacted

Plaintiff directly in an attempt to collect the alleged debt.

        28.     Media Collections mailed a collection letter directly to Plaintiff on or about April

23, 2018, seeking to collect the alleged debt. (Exhibit D, April 23, 2018, Collection Letter from

Media Collections).

        29.     The letter contained the name of the alleged “Creditor”, the alleged balance due

and stated, inter alia:

                Be advised that RCN Telecom Services LLC has requested that our agency
                collect this account.

                In regard to the above-captioned account, please note the following:

                1). RCN Telecom Services LLC has forwarded your account information to
                our office.

                2). They advised us that they have attempted to contact you and you have not
                paid this account.

                All checks should be made payable to RCN Telecom Services LLC and
                mailed using the enclosed self-addressed envelope.

                          (Exhibit D, April 23, 2018, Collection Letter from Media Collections).

        30.     The letter additionally stated on the reverse side:

                This Communication is from a debt collector. This is an attempt to collect a
                debt and any information obtained will be used for that purpose.

                          (Exhibit D, April 23, 2018, Collection Letter from Media Collections).




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       31.        The April 23, 2018, letter was a communication sent in connection with the

collection of a debt.

       32.        Prior to April 23, 2018, Media Collections knew, or could have easily ascertained,

that Plaintiff had filed for bankruptcy and was represented by counsel, but attempted to collect

the alleged debt from Plaintiff directly instead.

       33.        Section 1692c of the FDCPA states in relevant part:

                  § 1692c. Communication in connection with debt collection
                  (a)     Communication with the consumer generally.
                  Without the prior consent of the consumer given directly to the debt
                  collector or the express permission of a court of competent jurisdiction,
                  a debt collector may not communicate with a consumer in connection
                  with the collection of any debt—
                  …
                  (2) if the debt collector knows the consumer is represented by an
                  attorney with respect to such debt and has knowledge of, or can readily
                  ascertain, such attorney’s name and address. . . .
       34.        Defendant violated 15 U.S.C. § 1692c(a)(2) of the FDCPA when it mailed a letter to

Plaintiff, in an attempt to collect a debt, even though it knew, or could have easily ascertained, that

Plaintiff had filed for bankruptcy and was represented by counsel.

       35.        Mr. Lacey was alarmed at receiving the collection letter, as his counsel had previously

assured him that he would notify his alleged creditors that his office represented him in regard to the

debt, and that Plaintiff would not be contacted by Defendant after his counsel sent notice of his

representation.

       36.        Additionally, Plaintiff was alarmed that he still received the collection letter, even

though he had notified Defendant, by phone, that he was represented by counsel and had filed for

bankruptcy.




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       37.     Mr. Lacey was frightened, nervous and upset at the prospect of facing Defendant’s

collection efforts alone, and experienced distress as a result of Defendant’s actions.

       38.     Section 1692d of the FDCPA states in relevant part:

               § 1692d. Harassment or abuse.
               A debt collector may not engage in any conduct the natural consequence of which
               is to harass, oppress, or abuse any person in connection with the collection of a
               debt.
       39.     Defendant violated 15 U.S.C. § 1692d when it mailed Plaintiff a collection letter

directly, in an attempt to collect a debt, when it knew or could have easily ascertained that he was

represented by counsel.

       40.     Defendant engaged in conduct, in connection with the collection of the alleged debt, the

natural consequence of which is to harass, oppress, or abuse Mr. Lacey, in violation of § 1692d.

       41.     Section 1692f of the FDCPA provides as follows:

               § 1692f. Unfair Practices

               A debt collector may not use unfair or unconscionable means to collect or
               attempt to collect any debt. Without limiting the general application of the
               foregoing, the following conduct is a violation of this section:

               (1) The collection of any amount (including any interest, fee, charge, or
               expense incidental to the principal obligation) unless such amount is
               expressly authorized by the agreement creating the debt or permitted by law.

       42.     Defendant violated 15 U.S.C. §§ 1692f and 1692f(1) when it attempted to collect the

alleged debt from Plaintiff, even though it had no legal right to do so, because Plaintiff had filed for

bankruptcy.

       43.     Defendant’s collection actions and communications are to be interpreted under the

“unsophisticated consumer” standard. See Gammon v. GC Services, Ltd. Partnership, 27 F.3d 1254,

1257 (7th Cir. 1994).



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                      COUNT I-FAIR DEBT COLLECTION PRACTICES ACT
       44.      Plaintiff repeats, re-alleges and incorporates by reference the foregoing paragraphs.

       45.      Defendant violated 15 U.S.C. § 1692c(a)(2) when Media Collections mailed Plaintiff

the Collection Letter, on or about April 16, 2018, when it knew or could have easily ascertained that

Plaintiff was represented by counsel.

       46.      Defendant violated 15 U.S.C. § 1692d when it mailed Plaintiff a collection letter

directly, in an attempt to collect a debt, when it knew or could have easily ascertained that he was

represented by counsel.

       47.      Defendant violated 15 U.S.C. §§ 1692f and 1692f(1) when it attempted to collect the

alleged debt from Plaintiff, even though there was an automatic stay in place, due to Plaintiff’s

bankruptcy filing.

       48.      As a result of Defendant’s violations of the FDCPA, Plaintiff is entitled to an award of

actual damages, statutory damages from each defendant, costs and reasonable attorney fees.

       WHEREFORE, Plaintiff requests that judgment be entered in his favor against Defendant

Media Collections, Inc. d/b/a Joseph, Mann and Creed, for the count alleged above for:

             A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

             B. Statutory damages from each defendant pursuant to 15 U.S.C. § 1692k(a)(2);

             C. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k(a)(3); and

             D. Such other or further relief as the Court deems proper.

                                         JURY DEMAND
                                   Plaintiff demands trial by jury.

                                                                                Respectfully submitted,

                                                                      By:     /s/ Bryan Paul Thompson
                                                                            One of Plaintiff’s Attorneys

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                          DOCUMENT PRESERVATION DEMAND
        Plaintiff hereby demands that defendant take affirmative steps to preserve all recordings,
data, documents, and all other tangible things that relate to plaintiff, the events described herein,
any third party associated with any telephone call, campaign, account, sale or file associated with
plaintiff, and any account or number or symbol relating to them. These materials are likely very
relevant to the litigation of this claim. If defendant is aware of any third party that has possession,
custody, or control of any such materials, plaintiff demands that defendant request that such third
party also take steps to preserve the materials. This demand shall not narrow the scope of any
independent document preservation duties of the defendant.


                                                                       By: /s/ Bryan Paul Thompson
                                                                         One of Plaintiff’s Attorneys


                            NOTICE OF LIEN AND ASSIGNMENT
Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount as a
court awards. All rights relating to attorney’s fees have been assigned to counsel.


                                                                       By: /s/ Bryan Paul Thompson
                                                                         One of Plaintiff’s Attorneys




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